Case 4:19-cv-07123-PJH Document 20-20 Filed 02/27/20 Page 1 of 2




      EXHIBIT 17
                Case 4:19-cv-07123-PJH Document 20-20 Filed 02/27/20 Page 2 of 2


Mornin, Joe

From:                             Aaron Lukken <lukken@vikinglaw.us>
Sent:                             Tuesday, December 31, 2019 10:49 AM
To:                               Mornin, Joe
Subject:                          NSO litigation-- Hague service status (Israel)



[External]

Joe, to update you on the status of service on NSO and Q Cyber... service has been effected, but we
will have to wait another two or three weeks for the Central Authority (the Administration of Courts in
Jerusalem) to issue and send me the Certificates designated by Article 6 of the Hague Service
Convention.

You will recall that my agent was unable to gain access to the defendants' office building on December
10. My agent then was able to ascertain the address of the companies' founder, Hulio Shalev, and
attempted (unsuccessfully) to serve at his home. He advised me on December 18 that a follow-up
attempt at the office location was successful. All we can do now is await the Central Authority's
processing. Of course, I'll let you know as soon as the Certificates arrive.

Many thanks,
Aaron
------------------------
Aaron Lukken
Attorney, Managing Member
Viking Advocates, LLC
Author of The Hague Law Blog
Visit my LinkedIn profile here
O/M: +1-816-200-1383


Disclaimers: (1)
Email is not a secure medium of communication. While this is common knowledge, we tend to forget, so please let this
serve as a reminder that emails can be intercepted-- simple as that. If you do not want to communicate with me by
email, then we can utilize my Clio portal.
 (2) If you are not the correct recipient, please let me know that you have received this message in error. (3) Save a
tree! Don't print this unless it is absolutely necessary.




                                                            1
